     Case 2:11-cv-02605-JWL-KMH Document 1 Filed 11/04/11 Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

JACK A. THORNSBERRY

             Plaintiff,
                                                            Case No.: 11-cv-2605 JWL/KMH
v.

ALLIANCEONE RECEIVABLES MANAGEMENT, INC.,

             Defendant.


                           COMPLAINT AND JURY DEMAND


                                       JURISDICTION

1.   Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

2.   This action arises out of the Defendant’s violations of the Fair Debt Collection

     Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

                                            VENUE

3.   Venue is proper in this District.

4.   The acts and transactions alleged herein occurred within this Judicial District.

5.   The Plaintiff resides within this Judicial District.

6.   Defendant transacts business and regularly collects debts by telephone and the

     mails within this Judicial District.

                                            PARTIES

7.   Plaintiff, Jack A. Thornsberry, is a natural person.
      Case 2:11-cv-02605-JWL-KMH Document 1 Filed 11/04/11 Page 2 of 5




8.    The Plaintiff resides in the City of Kansas City, County of Wyandotte, State of

      Kansas.

9.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692 et seq.

10.   The Plaintiff is an “any person” as that term is used within 15 U.S.C. § 1692a(3).

11.   Defendant AllianceOne Receivables Management, Inc., is a foreign corporation.

12.   Defendant maintains a Kansas registered agent of The Corporation Company, Inc.,

      112 S.W. 7th Street, Suite 3C, Topeka, Kansas 66603.

13.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

14.   The principal business of the Defendant is the collection of debts using the mails

      and telephone.

15.   The Defendants regularly attempt to collect debts alleged to be due another.

                FACTUAL ALLEGATIONS AND CAUSES OF ACTION

16.   Sometime prior to the filing of the instant action, the Plaintiff allegedly incurred a

      financial obligation that was primarily for personal, family or household purposes

      (hereinafter the “Account”).

17.   The account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

18.   The Account was allegedly was not paid and it went into default with the creditor.

19.   Sometime after the account went into default, the alleged debt was assigned,

      placed or otherwise transferred to the Defendant for collection.

20.   The Plaintiff disputes the account, in that it was paid.

21.   The Plaintiff is represented by the undersigned attorney with regard to the

      subject debt.
      Case 2:11-cv-02605-JWL-KMH Document 1 Filed 11/04/11 Page 3 of 5




22.   The Plaintiff requests that the Defendant cease all communication personally on

      the Account.

23.   In the year prior to the filing of the instant action, the Plaintiff received telephone

      calls and voicemail messages from representatives, employees and/or agents of

      the Defendants who were attempting to collect the Account.

24.   Upon information and belief, Defendants possess recordings of the content of

      telephone calls between Plaintiff and Defendant’s representatives.

25.   Upon     information    and     belief,    Defendant   kept   and   possesses   written

      documentation and/or computer records of telephone calls between Plaintiff and

      Defendant’s representatives.

26.   The telephone calls between Defendant and Plaintiff each individually constitute

      a “communication” as defined by FDCPA § 1692a(2).

27.   The purpose of Defendant’s telephone calls and voicemail to Plaintiff was to

      collect the account.

28.   The telephone calls and voicemail conveyed information regarding the Account

      directly or indirectly to the Plaintiff.

29.   The only reason that the Defendant and/or its representatives, employees and/or

      agents made the telephone calls to Plaintiff was to attempt to collect the Account.

30.   During the telephone calls and voicemails representatives, employees and/or

      agents of the Defendant attempting to collect the account disclosed confidential

      account information to a third party in violation of 15 U.S.C. 1692 c(b).
      Case 2:11-cv-02605-JWL-KMH Document 1 Filed 11/04/11 Page 4 of 5




31.   During the telephone calls representatives, employees and/or agents of the

      Defendant caused Plaintiff’s telephone continuously to ring multiple times per day

      with the intent to annoy, abuse and harass Plaintiff in violation of 15 U.S.C. §

      1692d preface and d(5).

32.   During the telephone calls representatives, employees and/or agents of the

      Defendant repeatedly engaged Plaintiff in conversation multiple times per day

      with the intent to annoy, abuse and harass Plaintiff in violation of 15 U.S.C. §

      1692d preface and d(5).

33.   The Defendant and its representatives, employees and/or agents above listed

      statements and actions involve unfair and/or unconscionable means to collect or

      attempt to collect a debt and therefore constitute violate FDCPA 1692f.

34.   As a consequence of the Defendant’s collection activities and communications,

      the Plaintiff has suffered actual damages, including emotional distress.


                             RESPONDEAT SUPERIOR


35.   The representatives and/or collectors at the Defendant were employees of and

      agents for the Defendants were acting within the course and scope of their

      employment at the time of the incidents complained of herein and were under the

      direct supervision and control of the Defendant at all times mentioned herein.

                                JURY TRIAL DEMAND

The Plaintiff is entitled to and hereby demands a trial by jury. US Const. amend. 7.,

Fed. R. Civ. Pro. 38.
        Case 2:11-cv-02605-JWL-KMH Document 1 Filed 11/04/11 Page 5 of 5




                         DESIGNATION OF PLACE OF TRIAL

     Plaintiff requests Kansas City, Kansas as the place of trial.

                                          PRAYER

WHEREFORE, the Plaintiff prays that the Court grants the following:

1.     Actual damages under 15 USC § 1692k(a)(1).

2.     Statutory damages under 15 USC § 1692k(a)(2)(A).

3.     Reasonable attorneys fees and costs pursuant to 15 USC § 1692k(a)(3).

4.     A finding the the Defendant violated the FDCPA.

5.     Such other and further relief as the Court deems just and proper.

                                            Respectfully submitted,

                                           /s/ J. Mark Meinhardt
                                           J. Mark Meinhardt #20245
                                           4707 College Blvd., Suite 100
                                           Leawood, KS 66211
                                           913-451-9797
                                           Fax 913-451-6163

                                           ATTORNEY FOR PLAINTIFF
